Case 4:19-cv-02107-MWB Document 90-3 Filed 08/28/23 Page 1 of 4

CURRICULUM VITAE

RUSSEL L. ANDRESS , IAAI-CFI
Fire Origin and Cause Investigator

AMERICAN FIRE LOSS ANALYSIS Inc.
54 Helen St. Plains, PA 18705
Email-randress@comcast.net
Cellular 570-8 14-1298 Fax 570-822-5756

CAPABILITIES:

Qualified to investigate fire and explosion scenes, locate the fires point of origin or seat of the
explosion. Identify, collect and document all manner of fire scene evidence. Prepare detailed
investigative reports containing origin and cause analysis, witness statements, photographs,
diagrams, arc mapping and video where required, Render a professional opinion with respect to
fire origin and cause , and provide expert testimony as a result of those investigations. I have
conducted numerous successful subrogation and liability investigations, and am well versed in the
proper procedures . I use a systematic approach utilizing the Scientific Method as outlined in
NFPA 921. I can review investigations conducted by opposing experts and assist in preparation of
pending court action.

Education

Graduate of Wyoming Valley West HS— 1985

United States Army 1985-1988 and 1990-1991(Persian Gulf War)
Graduate of the Pa Corrections Academy— 1993

Graduate of the PA State Police Academy-1994

Graduate of the PA State Fire Academy— 1999

Graduate of the National Fire Academy- 2001

EXPERIENCE

Vice-President American Fire Loss Analysis Inc.-2015-Present

Pennsylvania State Trooper 1994-2015 (Retired)

Fraud consultant for Blue Cross of NEPA 2011-2016

Full time fire investigator 1999-2015

Investigated more than 1800 fires in Pennsylvania, New York ,New Jersey, Delaware, Maryland
and the British Cayman Islands. These investigations include residential structures, commercial
structures , vehicles, heavy equipment, gas and oil facilities, pipelines, explosion incidents , and
approx. 100 fatal fires..

Positions Held

2015— Present— Vice-President
American Fire Loss Analysis Inc.

1999-2015—Deputy Fire Marshal
Pennsylvania State Police
Responsible for the determination of fire origin and cause, criminal investigation and prosecution.

2011-2016— Fraud Consultant
Blue Cross of Northeast PA
Assist the SIU department with potential medical fraud cases. Interview patients and clients. Make

Case 4:19-cv-02107-MWB Document 90-3 Filed 08/28/23 Page 2 of 4

CURRICULUM VITAE

Licenses and Certifications:

Licensed State of Pennsylvania Private Investigator

Certified Fire Investigator— (CFI) International Association of Arson Investigators

Certified Fire Investigator- (CFI) Pa State Fire Commissioner

Certified Fire Investigator- (CFI) National Board of Fire Service Professional Qualifications

COURT QUALIFICATIONS

Qualified and Testified as an expert in Fire Investigation on 25 occasions in the following
courts. These cases include criminal and civil trials.

US Federal Court— Middle District of Pennsylvania
Lackawanna County Court— Pennsylvania

Wayne County Court —Pennsylvania

Susquehanna County Court- Pennsylvania

Pike County Court— Pennsylvania

Have given sworn depositions regarding fire investigations throughout Pennsylvania on more
than 50 occasions.

FIRE INVESTIGATION INSTRUCTION
Developed the Fire Scene Evidence program and presented same to fire departments
throughout Northeast Pennsylvania.

Member of development group which produced and taught the Investigation of Critical
Incidents at Gas and Oil Well Sites.

Developed the Spontaneous Ignition Program for the American Society of Safety Engineers.

Instructed on scene fire investigation to new Deputy State Police Fire Marshals.

SPECIALIZED TRAINING

Arson Detection and Fire Investigation - Pa State Fire Academy— 1999

Advanced Arson Detection and Fire Investigation— Pa State Fire Academy-1999

Arson Detection Seminar— PIAA-1999

Post Blast Investigation-Protection Planning LLC -1999

Advanced Post Blast Investigation— Protection Planning LLC-2000

Motor Vehicle Fire Investigation— Northeast Mechanical Services. —-2000

Fire and Arson Investigation— National Fire Academy— 2001

Statement Analysis Course-Pa State Police Academy-2001

Interview and Interrogation course— Pa State Police Academy-2001

Appliance Fire Investigation— Tri Fire Consultants-2002

Electrical Fire Investigation— Pa State Fire Academy-2004

Principles of Building Construction /Combustible— Luzerne County Community College-2006
Principles of Building Construction / Non/ Combustible— Luzerne County Community College-
2006

Basic Photography— Pa State Police Academy-2006
Respiratory Protection for Fire Investigators (SCBA)-Pa State Fire Academy-2006
Working with Industrial Electrical Systems— American Trainco-2007

Case 4:19-cv-02107-MWB Document 90-3 Filed 08/28/23 Page 3 of 4

CURRICULUM VITAE

SPECIALIZED TRAINING CONTINUED

Post Blast Investigation— US Dept. of Justice— 2007

Fire Investigation Scene Safety— [AAI CFI Trainer-2007

Ethics and the Fire Investigator -[AAI CFI Trainer— 2007

The Scientific Method for Fire and Explosion Investigation -[AAI CFI Trainer-2007
Investigating Motor Vehicle Fires- [AAI CFI Trainer— 2007

Introduction to Fire Dynamics and Modeling- IAAI CFI Trainer— 2007
Insurance and the Fire Investigator- [AAI CFI Trainer— 2007

Fatal Fire Victim Documentation— Tripwire Operations Group— 2007
Analysis of the Station Nightclub Fire-L[AAI CFI Trainer— 2007

Documenting the Event- [AAI CFI Trainer— 2008

Physical Evidence at the Fire Scene- IAAI CFI Trainer— 2008

Investigating Fatal Fires- IAAI CFI Trainer— 2008

Fire Investigation Utilizmg NFPA 921/1033- IAAT CFI Trainer— 2008
Introduction to Evidence- [AAI CFI Trainer— 2008

Digital Photography- [AAI CFI Trainer— 2008

Understanding Fire Through the Candle Experiment- [AAJ CFI Trainer— 2008
Managing Complex Fire Scenes- IAAI CFI Trainer— 2008

Hazards of Fires in Vacant / Abandoned Buildings- [AAI CFI Trainer— 2008
Courtroom Testimony and Demeanor- MAGLOCLEN—2008

Emergency Response to Terrorism— National Fire Academy— 2009

Principles of Wildland Fire Behavior— National Wildfire Coordinating group— 2009
Post Flashover Fires- [AAI CFI Trainer— 2009

Fire Prevention Training— National Fire Academy— 2009

Intro. To Wildland Fire Behavior— National Wildfire Coordinating Group— 2009
ARC Mapping Basics- [AAI CFI Trainer— 2009

Determining Responsibility in Arson Cases- IAAI CFI Trainer— 2009

Prep for the Marine Fire Science- [AAT CFI Trainer-2009

Effective Investigation and Testimony- [AAI CFI Trainer— 2009
Fundamentals of Residential Building Construction- IAAI CFI Trainer— 2010
Electrical Fire Investigation— Dept. of Justice / ATF— 2010

Electrical Aspects of Fire Investigation— BATF— 2010

Well Control Incident Management— BTI Inc.— 2010

Electrical Safety- [AAI CFI Trainer— 2010

Fundamentals of Interviewing- [AAI CFI Trainer— 2010

Hazardous Materials Awareness— Bucks County Comm. College— 2010

The HAZWOPER Standard- IAAI CFI Trainer— 2010

Evidence Examination in the Lab- LAAI CFI Trainer— 2010

Impact of First Responders on the Fire Scene- [AAI CFI Trainer— 2010
Conflict Resolution and Confrontation Management— SKILLPATH— 2010
Explosion Dynamics— IAAI CFI Trainer-2010

Review of the Charleston Sofa Store Fire- [AAI CFI Trainer— 2011

Search and Seizure- [AAI CFI Trainer— 2011

2011 NFPA Changes- [AAT CFI Trainer— 2011

Hazardous Materials Operations— Harrisburg Area Community Coll — 2012
NFPA 1033 and your Career- IAAI CFI Trainer— 2012

Using Resources to Validate your Hypotheses- [AAI CFI Trainer-—2012
Fundamentals of Rotary Screw Gas Compression— SAGE Energy— 2013
Hazardous Materials Operations (recertification)—- HACC— 2013

Control Panel Function, Types and Process Control— Spartan Controls Inc.-2013
Basic Electricity- IAAI CFI Trainer 2014

Case 4:19-cv-02107-MWB Document 90-3 Filed 08/28/23 Page 4 of 4

CURRICULUM VITAE

SPECIALIZED TRAINING CONTINUED

Residential Electrical Systems- IAAI CFI Trainer— 2014

Ethics and the Social Media- IAAT CFI Trainer— 2014

Writing the Origin and Cause Report— [AAI CFI Trainer-2015
Investigating Natural Gas Systems— IAAI CFI Trainer-2015

The Deposition Part!—- IAAT CFI Trainer-2015

The Deposition Part 2— IAAI-CFI Trainer— 2015

Structural Suppression— Bucks County Community College— 2016

Fire Control —Bucks Control— Bucks County Community College-2016
Attack & Backup Lines— Bucks County Community College— 2016

Motor Vehicles: Engine,Electrical,Ignition & Fuel Systems-IAAI CFI-2017
Motor Vehicle: Transmission,Exhaust,Brake, and Accessories-[AAI CFI-2017
Intro. To Youth Set Fires-[AAI-CFI Trainer-2017

Discovery in Criminal Cases-[AAI CFI Trainer-2017

Ethical Duties Beyond the Fire Scene-IAAI CFI Trainer-2017

Discovery in Civil Cases-IAAI CFI Trainer-2018

Fire Chemistry-[AAI CFI Trainer-2018

PROFESSIONAL AFFILIATIONS

INTERNATIONAL ASSOCIATION OF ARSON INVESTIGATORS-— 1999-Present
PA STATE TROOPERS ASSOCIATION-1995-2015 (Retired)

NATIONAL ASSOCIATION OF SUBROGATION PROFESSIONALS-2016
NORTHEAST PENNSYLVANIA CLAIMS ASSOCIATION-2019

